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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                                 )
   EVOLVED WIRELESS, LLC,                        )
                                                 )
                       Plaintiff,                )
                                                 )
                v.                               )
                                                 )     C.A. No. 15–545–JFB–SRF
   SAMSUNG ELECTRONICS CO., LTD.,                )
   AND SAMSUNG ELECTRONICS                       )
   AMERICA, INC.                                 )
                                                 )
                       Defendants.               )
                                                 )

   STIPULATION TO REMOVE CERTAIN SAMSUNG PRODUCTS FROM THE CASE
                     AND ENTER FINAL JUDGMENT

        Plaintiff Evolved Wireless, LLC (“Plaintiff” or “Evolved”) and Defendants

  Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc. (collectively,

  “Defendants” or “Samsung”) hereby stipulate that the Accused Samsung Products in this

  case that do not incorporate Qualcomm baseband processors (collectively, “Removed

  Samsung Products”) are withdrawn from this case without prejudice. The parties agree that

  the withdrawal without prejudice of the Removed Samsung Products resolves all remaining

  “claims involving other baseband chipsets in Civil Action No. in 1:15-cv-545” as referred

  to in the Court’s December 3, 2019 Judgment.

        Accordingly, judgment having been entered in favor of Defendants Samsung Elecs.

  Co., and Samsung Electronics America, Inc. and against plaintiff Evolved Wireless, LLC,

  with respect to claims against Samsung products with Qualcomm baseband chipsets (D.I.

  483), the parties request that the Court enter final judgment and dismiss Civil Action No.
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  1:15-cv-545 based on (1) the Court’s grant of judgment with respect to the Samsung

  products with Qualcomm baseband chipsets and (2) the stipulated dismissal without

  prejudice with respect to the Removed Samsung Products. Nothing in this stipulation

  precludes or in any way affects Evolved’s rights to seek to alter, amend, or appeal the

  Court’s December 3, 2019 Judgment with respect to claims against products that contain

  Qualcomm baseband chipsets.

         Nothing in this stipulation shall impact in any way Evolved’s ability to assert claims

  and seek relief in connection with any other products or based upon any other patents, in

  this suit or any future litigation. The parties further stipulate that no determination of

  infringement or non-infringement has been entered or agreed upon for any of the Removed

  Samsung Products.

         This stipulation is not intended to be and shall not be construed as a license to any

  patent owned by Evolved, including but not limited to the ’373 Patent or the ’236 Patent.

  The parties agree that this stipulation will not be admissible in any litigation and may not

  be used for any purpose, including but not limited to use in support of an expert’s opinion

  on infringement, validity, and/or damages in this or any other litigation. All fees and

  expenses incurred to date shall be borne solely by the party incurring the same.




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   Dated: January 2, 2020                    Respectfully submitted,

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                                                 Counsel for Defendants Samsung Electronics
                                                 Co., Ltd. and Samsung Electronics America,
                                                 Inc.


         SO ORDERED this ____ day of ________, 2019



                                     _______________________________________
                                       United States District Judge




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